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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

TOMAS REY, ET AL.
                                                                   CIVIL ACTION NO. 2:21-cv-1188
                              Plaintiffs,

            VERSUS                                                 SECTION: M
                                                                   JUDGE BARRY W. ASHE
LCMC HEALTH CARE PARTNERS, LLC,
ET AL.
                                                                   DIVISION: 1
                              Defendants.                          MAG. JANIS VAN MEERVELD


     MEMORANDUM IN SUPPORT OF MOTION TO STRIKE CLASS ALLEGATIONS

            Defendants LCMC Healthcare Partners, LLC, Louisiana Children’s Medical Center,

Children’s Hospital, and LCMC Health Holdings, Inc. (collectively, “Children’s Hospital”) submit

this memorandum in support of their motion to strike Plaintiffs’ class allegations.

       I.       INTRODUCTION

            The subject of this lawsuit is Children’s Hospital’s medical emergency helicopter, “Abby.”

Six plaintiffs1 are suing the hospital under Louisiana’s nuisance and negligence laws, claiming

Abby’s noise and vibrations have, and continue to, disturb them, cause them emotional distress,

cause them personal injury and property damage, and diminish their property values. These six,

who all live within a block and a half of the hospital, seek to represent a class covering 76 blocks

– from Audubon Park to Valmont Street; from the Mississippi River to Camp Street. In a recent

filing, Plaintiffs explained, in order to be a class member, a resident of this 76-block swath of

Uptown New Orleans must have suffered all of the following as a result of Abby’s flights, takeoffs,




1
    Two sets of Plaintiffs reside together, so there are four households suing Children’s Hospital.
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and landings: property damage, personal injury damage, and depreciation of their property value.2

According to their Petition, Plaintiffs intend to seek class certification under all three subparts of

Fed. R. Civ. P. 23(b).3 However, it is apparent from the nature of Plaintiffs’ nuisance and

negligence claims and spectrum of damages they seek that Plaintiffs cannot possibly obtain class

certification under any of the subparts of Rule 23(b).

         Certification under Rule 23(b)(3) requires, inter alia, that common questions of law or fact

“predominate” and the class mechanism is “superior” to other available methods for fairly

adjudicating the controversy. Plaintiffs’ alleged damages, including for emotional and personal

injuries (e.g., hearing loss, sleep disturbance, and mental health issues), damages to property, and

diminution of property value, are by their very nature the types of individualized damages

insusceptible to class-wide determination. Even assuming one resident within the 76-block class

area could establish with competent evidence that he or she has sustained personal injuries and

property damage and diminution in value of his or her home, such evidence would not obviate the

need for every other class member to make his or her own showing in order to recover. On this

point, the Fifth Circuit has long-expressed reluctance to certifying a class “where individual

damages cannot be determined by reference to a mathematical or formulaic calculation.” Steering

Comm. v. Exxon Mobil Corp., 461 F.3d 598, 602 (5th Cir. 2006). Courts have stricken class

allegations pre-discovery due to these individualized damages issues. See, e.g., Bevrotte v. Caesars

Entertainment Corp., 2011 WL 4634174, at *2 (E.D. La. Oct. 4, 2011) (Vance, J.); Kemp v.

Metabolife Intern., Inc., No. 00-cv-3513, 2002 WL 113894, at *3 (E.D. La. Jan. 25, 2002)



2
  Plaintiffs’ Petition for Permission to Appeal filed with the Fifth Circuit, attached as Exhibit “A,” affirmatively asserts
that the class is now limited to owners of property “who ha[ve] sustained and continue[] to sustain all of the following:
property damage, depreciation of their home and personal injury.” Exhibit “A,” p. 9.
3
  Plaintiffs’ Petition recites the requirements of Louisiana’s class action provision, La. C.C.P. art. 591 (because
Plaintiffs’ Petition was originally filed in state court), but the language of Art. 591 and Rule 23 is essentially the same.
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(Berrigan, J.); Coleman v. Sears Home Improvement Prods., Inc., No. 16-cv-2537, 2017 WL

1064965, at *6-7 (E.D. La. Mar. 20, 2017) (Brown, J.); Bauer v. Dean Morris, L.L.P., Nos. 08–

5013, 08–5014, 2011 WL 3924963, at *7 (E.D. La. Sept. 7, 2011) (Duval, J.).

       Even liability cannot be established on a class-wide basis. The nuisance and negligence

claims Plaintiffs assert, by their own codal and jurisprudential definitions, require individualized

determinations as to the “reasonableness” of the hospital’s conduct as a property owner vis-à-vis

the anticipated impact of Abby’s noise on each putative class member and whether the noise

allegedly generated by Abby caused mere “inconvenience” or instead caused “real damage.” Even

if the noise produced by Abby is found to rise to the level of causing “real damage” to a person

living in close proximity to the helistop, that does not mean the same is true for someone living

much farther away or for whom circumstances are otherwise very different. That is to say,

individualized questions must be answered to determine if each putative class member even has

an actionable nuisance or negligence claim. That is precisely why the Louisiana Supreme Court

has held Louisiana’s nuisance laws “do not lend themselves to resolution on a common, class-wide

basis.” Price v. Martin, 2011–0853, p. 6 (La. 12/6/11), 79 So.3d 960, 974. And it is precisely why

the court struck the plaintiffs’ class allegations in Lauteman v. Bird Rides, Inc., No. 18-cv-10049,

2019 WL 3037934, at *1 (C.D. Cal. May 31, 2019), also a putative nuisance class action.

       No amount of discovery can eliminate these inherently individualized questions. In

particular, no expert could possibly provide a reasonable basis for applying a uniform formula to

all types of damages and claims. For example, no uniform formula could be used to determine

whether a putative class member suffered “hearing loss,” whether that hearing loss was caused by

Abby, whether there were contributing factors, the extent of the hearing loss, and how the hearing

loss impacted the person’s life. Nor could an expert provide a formula to determine whether a

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particular putative class member suffered emotional or property damages, the extent of those

damages, and whether those damages were caused by Abby or by contributing factors.

       Plaintiffs fare no better under Rules 23(b)(2) and (b)(1). Plaintiffs cannot satisfy the

requirements of Rule 23(b)(1), the option for classes seeking injunctive relief, because they cannot

even begin to show: (a) the request for injunctive relief predominates over Plaintiffs’ request for

money damages, (b) the conduct can be declared unlawful class-wide, and (c) class members were

harmed in essentially the same way. This is especially apparent given Plaintiffs’ recent mandate

that putative class members must have suffered property damage, personal injury, and diminution

in property value to even be included in the proposed class. It is impossible to fathom a class

having suffered all of these types of damages together in essentially the same way. A Rule

23(b)(1)(a) mandatory class is likewise not available because: (1) the request for monetary relief

clearly predominates and (2) there is no risk the defendants would be faced with judgments by

courts that impose inconsistent affirmative obligations. Even if one court ordered Children’s

Hospital to move its helistop and another court did not order Children’s Hospital do so, those

judgments would not impose conflicting affirmative obligations on Children’s Hospital within the

meaning of Rule 23(b)(1)(A). Plaintiffs’ inability to obtain certification under Rule 23(b)(2) and

(b)(1) is compounded by the fact that those are “mandatory non-opt-out classes,” Johnson v.

Kansas City S. Ry. Co., 208 F. App’x 292, 296 (5th Cir. 2006) (emphasis added), meaning every

homeowner within the defined class would be forced into this lawsuit irrespective of whether he

or she has any interest in opposing Children’s Hospital’s medical emergency helicopter.




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   II.      LAW AND ARGUMENT

            a. Motions to Strike Class Allegations

         A court can strike class allegations, pre-discovery, pursuant to Fed. R. Civ. P. 23(d)(1)(D).

See, e.g., Bevrotte , 2011 WL 4634174, at *2 (striking class allegations on the pleadings pursuant

to Fed. R. Civ. P. 23(d)(1)(D) because individualized questions of causation and damages would

inevitably predominate). A court may also strike class allegations pursuant to Fed. R. Civ. P. 12(f)

or 12(b)(6) where individualized damages and liability inquiries inevitably predominate. See, e.g.,

Coleman, 2017 WL 1064965, at *6; Bauer, 2011 WL 3924963, at *7.

            b. Class Action Standards
         Class certification is governed by Rule 23 of the Federal Rules of Civil Procedure. To be

certified under Rule 23, a class must first satisfy the four threshold requirements of Rule 23(a),

including “numerosity,” “commonality,” “typicality,” and “adequacy of representation.” Amchem

Prods., Inc. v. Windsor, 521 U.S. 591, 613, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997) (quoting Fed.

R. Civ. P. 23(a)). Plaintiffs also must prove “ascertainability” of the defined class, “an implied

prerequisite of Federal Rule of Civil Procedure 23.” John v. National Security Fire & Casualty

Company, 501 F.3d 443, 445 (5th Cir. 2007); AMP Automotive, LLC v. BFT, LP, No. 17-cv-5667,

2017 WL 5466817, *4 (E.D. La. Nov. 14, 2017) (citing Union Asset Mgmt. Holding A.G. v. Dell,

Inc., 669 F.3d 632, 639 (5th Cir. 2012) (“the proposed class must be adequately defined and clearly

ascertainable by reference to objective criteria”). The class definition must be sufficiently definite

so it is administratively feasible for the court to determine whether a particular individual is a

member. Sartin v. EKF Diagnostics, Inc., 2016 WL 7450471 (E.D. La. Dec. 28, 2016) (quoting

Wright & Miller, 7A Federal Practice and Procedure, § 1760 (2d ed.)). “Where it is facially




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apparent from the pleadings that there is no ascertainable class, a district court may dismiss the

class allegation on the pleadings.” John, 501 F.3d at 445 (emphasis added).

         If the Rule 23(a) prerequisites are met, the proposed class must also satisfy the

requirements of either Rule 23(b)(1), (2) or (3). Rule 23(b)(1)(A) provides for certification of a

mandatory non-opt-out class when “prosecuting separate actions by or against individual class

members would create a risk” of “inconsistent or varying adjudications with respect to individual

class members that would establish incompatible standards of conduct for the party opposing the

class.”4 Rule 23(b)(2) allows for certification where “the party opposing the class has acted or

refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Finally, class

certification under Rule 23(b)(3) requires that “questions of law or fact common to class members

predominate over any questions affecting only individual members,” and that “a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.”

             c. Plaintiffs Cannot Certify a Rule 23(b)(3) Class

         Rule 23(b)(3)’s “predominance” requirement is “more demanding” than the

“commonality” requirement of Rule 23(a). Ahmad v. Old Republic Nat. Title Ins. Co., 690 F.3d

698, 702 (5th Cir. 2012). The predominance inquiry “calls upon courts to give careful scrutiny to

the relation between common and individual questions in a case.” Tyson Foods, Inc. v.

Bouaphakeo, 577 U.S. 442, 453 (2016); see id. (“An individual question is one where ‘members

of a proposed class will need to present evidence that varies from member to member,’ while a




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 Rule 23(b)(1)(B) is the rule generally used for so called “limited fund” cases. There, a defendant has a limited pool
of money from which to pay the claims of all current and potential plaintiffs.
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common question is one where ‘the same evidence will suffice for each member to make a prima

facie showing or the issue is susceptible to generalized, class-wide proof’”).

       “Determining whether the plaintiffs can clear the predominance hurdle set by Rule 23(b)(3)

requires district courts to consider ‘how a trial on the merits would be conducted if a class were

certified,’” Madison v. Chalmette Ref., L.L.C., 637 F.3d 551, 555 (5th Cir. 2011), which, “in turn,

‘entails identifying the substantive issues that will control the outcome, assessing which issues will

predominate, and then determining whether the issues are common to the class, a process that

ultimately prevents the class from degenerating into a series of individual trials.’” Gene & Gene

LLC v. BioPay LLC, 541 F.3d 318, 326 (5th Cir. 2008). “Pragmatism is the lodestar of

predominance.” Earl, 2021 WL 4034514 at *18.

       Rule 23(b)(3)’s “superiority” requirement mandates consideration of, among other things,

the class members’ interest in individually controlling their separate actions and the likely

difficulties in class management. However, “[t]he Fifth Circuit has noted that there is an important

relationship between the superiority analysis and the predominance analysis.” In re Chinese-

Manufactured Drywall Products Liab. Litig., No. No. 09-cv-4115, 2019 WL 2924135, at *10 (E.D.

La. July 8, 2019) (citing Exxon, 461 F.3d at 604). Specifically, [w]here common issues do not

predominate, any effort to conduct a class action ‘would denigrate in practice into multiple lawsuits

separately tried.’” Id. Stated otherwise, “the predominance of [] individual issues ... detract[]s from

the superiority of the class action device…” Id. (citing In re FEMA Trailer Formaldehyde Prods.

Liab. Litig., No. MDL 071873, 2008 WL 5423488, at *15 (E.D. La. Dec. 29, 2008)).

       To understand why individualized questions inevitably predominate, class action

procedure is not superior, and no amount of discovery can change that, the Court must first

consider the class Plaintiffs seek to certify, legal claims asserted, and types of damages alleged:

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                   i. Plaintiffs’ Class Allegations, Legal Claims and Alleged Damages

       In their Petition, Plaintiffs claim they intend to seek certification of a class consisting of:

       All persons who are residents, domiciliaries, tenants, and/ or are located in Orleans
       Parish, who have suffered and continue to suffer damages including property
       damage and depreciation of their homes as well as personal injury as a result
       of the relocation of the LCMC Health heliport and who reside in an area bounded
       by the Mississippi River to the South, both sides of Camp Street to the North;
       Valmont Street to the East; and Exposition Boulevard to the West.

Petition, ¶ 23. (emphasis added).

       Plaintiff’s legal claims are nuisance (La. C.C. arts. 667-669, Petition ¶ 28) and negligence

(La. C.C. arts. 2315 and 2317, Id.) and Plaintiffs allege the following damages (Petition, ¶ 29):

      Hearing loss;
      Sleep disturbance;
      Mental health issues;
      Diminution of property value;
      Property damage;
      Loss of use of their property;
      Cost to remediate their property;
      Physical and mental suffering;
      Inconvenience;
      Past, present and future medical expenses; and
      Past present and future physical and mental pain and suffering.
       Plaintiffs have now confined their putative class to persons who have suffered all of the

following: personal injury, property damage, and depreciation of his/her property value.

                   ii. Standards for Nuisance and Negligence Claims Under Louisiana Law
       Louisiana “nuisance” claims are governed by La. C.C. arts. 667–669. Rodrigue v.

Copeland, 475 So. 2d 1071, 1077 (La. 1985). These articles impose on property owners certain

legal servitudes known as “obligations of vicinage.” Id. Louisiana Civil Code article 667 defines

nuisance as follows:



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       Although a proprietor may do with his estate whatever he pleases, still he cannot
       make any work on it, which may deprive his neighbor of the liberty of enjoying his
       own, or which may be the cause of any damage to him. However, if the work he
       makes on his estate deprives his neighbor of enjoyment or causes damage to him,
       he is answerable for damages only upon a showing that he knew or, in the
       exercise of reasonable care, should have known that his works would cause
       damage, that the damage could have been prevented by the exercise of
       reasonable care, and that he failed to exercise such reasonable care.

       La. C.C. art. 667 (emphasis added).

       The Louisiana Supreme Court has observed articles 667–669 “embody a balancing of

rights and obligations associated with the ownership of immovables. As a general rule, the

landowner is free to exercise his rights of ownership in any manner he sees fit ... He may even use

his property in ways which ‘... occasion some inconvenience to his neighbor.’ However, his

extensive rights do not allow him to do ‘real damage’ to his neighbor.” Rodrigue, 475 So. 2d at

1077. “When actions or work graduate from inconveniences to real damages is a question of

fact.” Wattigny v. Hoskin Homes L.L.C., 2018-0297 (La.App. 4 Cir. 11/14/18); 318 So.3d 738,

writ denied, 2019-0044 (La. 2/25/19); 266 So.3d 295. (emphasis added). “[A] factfinder must

determine whether an activity occasions real damage or mere inconvenience by considering

the reasonableness of the conduct in light of the circumstances. Factors to consider are the

character of the neighborhood, the degree of intrusion and the effect of the activity on the

health and safety of the neighbors.” Id. (citing Badke v. USA Speedway, LLC, 49,060, pp. 16-17

(La.App. 2d Cir. 5/14/14), 139 So.3d 1117, 1126) (emphasis added).

       In Price v. Martin, 11–0853, p. 6 (La. 12/6/11), 79 So.3d 960, 966, p. 6 the Louisiana

Supreme Court held, “under La. C.C. arts. 667–669 [], a factual determination must be made as to

the nature and extent of the inconvenience that each plaintiff claims and this determination is a

substantive element of liability, not merely an issue of quantum of damages.” Id. at 974 (citing

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Ford v. Murphy Oil U.S.A., Inc., 96–2913, 96–2917, 96–2929 (La. 9/9/97), 703 So.2d 542, 549 n.

11) (emphasis added). The court explained:

         Whether an activity or work occasions real damage or mere inconvenience requires
         consideration of such factors as the character of the neighborhood, the degree of
         intrusion, and the effect of the activity on the health and safety of the neighbors,
         factors which do not lend themselves to resolution on a common, class-wide
         basis.”

Id. at 974 (citing Barrett v. T.L. James & Co., 28,170, pp. 6–7 (La.App. 2 Cir. 4/3/96), 671 So.2d

1186) (emphasis added).

         Plaintiffs’ negligence claim under La. C.C. arts. 2315 is likewise subject to an inherently

individualized “reasonableness” standard. Under Art. 2315, there is a duty “to use ‘reasonable

care’ [] to avoid injury to another.” Thomas v. Sisters of Charity of the Incarnate Word, 38,170,

pp. 10–11 (La.App.2d Cir.3/19/04), 870 So.2d 390, 397, writ denied, 04–1403 (La.9/24/04), 882

So.2d 1132. Negligence requires the risk be both “unreasonable and foreseeable.” Bridgefield

Casualty Insurance Company v. J.E.S., Inc., 2009–0725 (La. App. 1st Cir. 10/23/09), 29 So. 3d

570, 573.5 In addition, “Louisiana’s comparative fault statute requires apportioning fault [for

claims under Art. 2315] among all tortfeasors, including those that are not parties to the action.”

Smith v. Kansa Technology, L.L.C., No. 16-cv-16597, 2018 WL 3223265, at *2 (E.D. La. July 2,

2018) (citing La. C.C. art. 2323) (emphasis added). Fault must also be apportioned as to nuisance

claims under Arts. 667-669. See, e.g., Begnaud v. Camel Contractors, Inc., 98–207, pp. 5–6

(La.App. 3 Cir. 10/28/98), 721 So.2d 550, 555-56, writ denied, 98–2948 (La.2/5/99), 738 So.2d 1.




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  La. C.C. art. 2317, which Plaintiffs also cite, likewise requires a finding a defendant “knew or, in the exercise of
reasonable care, should have known” something controlled by him would cause another person damage and the
damage could have been avoided by exercising “reasonable care.” La. C.C. art. 2317.1.
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                  iii. Individualized Questions Inevitably Predominate as to Both
                       Damages and Liability
       Individualized and fact-specific determinations are required to determine whether a

defendant’s conduct rises to the level of being a “nuisance” under the above-cited Louisiana

jurisprudence, i.e., whether the defendant’s conduct was “reasonable” given the circumstances and

caused “real damage” or a mere “inconvenience.” Here, each plaintiff and putative plaintiff’s

individual circumstances would have to be examined to determine whether he/she has an

actionable claim for “nuisance” due to the relocation of the helistop. This would require a jury to

determine, on an individualized basis, whether relocation of Children’s Hospital’s helistop resulted

in nonactionable inconvenience or whether it rose to the level of actionable “real damage” by

considering each putative class member’s location, living circumstances, ownership status, along

with myriad other factors, and whether an ordinary/reasonable person would suffer “real damage”

or mere “inconvenience” (or no inconvenience) under each plaintiff’s unique circumstances. For

example, just because the helistop relocation (and new flight paths) might be considered

unreasonable and rise to the level of a “nuisance” for one person does not mean it is an actionable

nuisance for someone else. Indeed, some number of putative plaintiffs may believe they benefitted

from relocation of the helistop from its prior location. See, e.g., Bieneman v. City of Chicago, 864

F.2d 463, 465 (7th Cir. 1988), cert. denied, 490 U.S. 1080 (1989) (noting, in an airport noise

nuisance case, some homeowners “may benefit from extra flights and so oppose homeowners

differently situated,” which is why “courts routinely decline to certify classes in airport-noise

cases”) (citing Virginians for Dulles v. Volpe, 344 F.Supp. 573, 575 (E.D.Va.1972), affirmed in

relevant part, 541 F.2d 442 (4th Cir.1976); Town of East Haven v. Eastern Airlines, Inc., 331

F.Supp. 16, 18 (D.Conn.1971), affirmed, 470 F.2d 148 (2d Cir.1972); Ario v. Metropolitan



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Airports Comm'n, 367 N.W.2d 509 (Minn.1985); City of San Jose v. Superior Court of Santa

Clara County, 12 Cal.3d 447, 115 Cal.Rptr. 797, 525 P.2d 701 (1974)).

       Once determinations of whether there is an actionable nuisance are made with respect to

each and every individual, then would begin the assessment of each and every person’s requested

damages, also inevitably requiring individualized factual determinations as to both the existence

and extent of damages as well as causation (including individualized apportionment of fault under

La. C.C. art. 2323). A non-exhaustive list of questions that would have to be individually answered

as to each putative class member to determine liability, damages, or both, includes:

      Where does each member live in relation to Children’s Hospital’s helicopter’s
       landing/takeoff/flight path?

      To what extend has each member actually experienced noise or vibration under their
       individual circumstances?

           o Does the member and his/her family live in the home full or part-time?
           o How much time does each member spend in the home and during what times of the
             day?
           o Does the member work from home?
           o How does the member’s “lifestyle” impact the effect of alleged helicopter
             noise/vibration?
           o What is the sleep profile of the member? Are there other factors that disturb the
             member’s sleep?
           o How is the member’s home constructed in terms of noise/vibration insulation?
           o Does the member live near a bar or restaurant, a similar noise-generating
             business/operation, or something else that muffles noise?

      When did the member buy his/her home?

           o For members who purchased their homes after Children’s Hospital started using the
             new helistop (i.e., after May 18, 2020), was any alleged “nuisance” already factored
             into the value of the home?
           o To what extent has this lawsuit or a public yard sign decrying the helicopter
             diminished property values, as opposed to the alleged helicopter noise/vibration?

      How is each member damaged, if at all?

           o Does the member have pre-existing hearing loss or lower hearing ability that makes
             him/her less affected by noise?
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           o Does the member have other medical conditions that gives him/her a predisposition
             to be more or less affected and/or injured by noise?
           o Does the member have physical and emotional injuries resulting from the alleged
             noise/vibration and, if so, what is the extent of those injuries?
           o Was helicopter noise/vibration the cause of the member’s physical or emotional
             injury or was the injury caused by something else?
           o What is the type and extent of any property damage the member allegedly suffered?

       Of critical importance, no amount of discovery can change that the nature of the damages

alleged and legal claims asserted by Plaintiffs mean all of these questions (and more) would have

to be answered on an individualized basis. No expert can present a reasonable, supportable method

or formula that allows these questions to be answered on a class-wide basis. Courts in and outside

of the Fifth Circuit have routinely rejected classes with features proposed by Plaintiffs, including

by striking class allegations at the pleadings stage. The same result should obtain here.

                  iv. Plaintiffs’ Claims for Personal, Emotional and Intangible Injuries are
                      Not Suited for Class Certification Under 5th Circuit Law

       The Fifth Circuit has expressed significant opposition to certifying classes when it is clear

the types of damages claimed will generate individualized questions related to causation and extent

of damages suffered. Steering Comm. v. Exxon Mobil Corp., 461 F.3d 598, 602 (5th Cir. 2006) is

the seminal Fifth Circuit case on the issue and arose after a fire at a Baton Rouge chemical plant

created a smoke plume carried by the wind to the southwest and across the Mississippi River. Id.

Hundreds of suits were filed asserting various causes of action, including claims for bodily injury,

personal discomfort and annoyance, emotional distress, fear of future unauthorized exposures, and

economic harm such as damage to business and property. Id. The district court denied class

certification, and that decision was affirmed on appeal by the Fifth Circuit, which found the

predominance requirement of Rule 23(b)(3) had not been satisfied because the nature of the

plaintiffs’ claims, particularly those involving emotional and other intangible injuries,

demonstrated individual issues would predominate over any class issues.
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       The court expressed its skepticism about treating mass tort incidents as class actions,

explaining: “where individual damages cannot be determined by reference to a mathematical or

formulaic calculation, the [dissimilar] damages issue may predominate over any issues shared by

the class”). Id. at 601. The court continued:

       It is clear from the record that the damages claims in this case are not subject to any
       sort of formulaic calculation. Instead, each individual plaintiff suffered different
       alleged periods and magnitudes of exposure and suffered different alleged
       symptoms as a result. Some plaintiffs allege both personal and property injuries,
       while others allege only one or the other. Moreover, many plaintiffs allege as part
       of their claim for compensatory damages emotional and other intangible injuries.
       The very nature of these damages, compensating plaintiffs for emotional and other
       intangible injuries, necessarily implicates the subjective differences of each
       plaintiff's circumstances; they are an individual, not class-wide, remedy. The
       amount of compensatory damages to which any individual class member might be
       entitled cannot be calculated by objective standards.

Id. at 603 (citing Allison v. Citgo Petroleum Corp., 151 F.3d 402, 417 (5th Cir. 1998)) (internal

quotations omitted). see also Robertson v. Monsanto, 287 F. App’x 354 (5th Cir. 2008) (holding

individualized issues of causation and damages related to personal, emotional and intangible

injuries claimed by the plaintiffs precluded class certification and noting that “[a]lthough the

alleged cause of the plaintiffs’ injuries is a single incident ... each plaintiff still must show that

[defendant’s] negligence in causing the gas leak was proximately connected to the specific injuries

complained of”).

       The Steering Committee court found its determination of a lack of “predominance” was

dispositive of the class certification issue: “Because all Rule 23 class-action requirements must be

satisfied, and we hold the predominance factor is not, we need not address the superiority factor”.

Id. at 604. Nevertheless, it explained there is an “interrelationship between predominance and

superiority.” Id. The court held, “predominance of individual issues relating to the plaintiffs’

claims for compensatory and punitive damages detracts from the superiority of the class action

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device in resolving these claims,” and affirmed the district court’s finding that superiority was

lacking for the same reasons predominance was lacking. See id. at 604-605 (citing Allison, 151

F.3d at 419 and Castano v. American Tobacco Co., 84 F.3d 734, 745 (5th Cir. 1996)). 6

                       v. Courts Have Stricken Class Allegations on the Pleadings Due to
                          Individualized Causation and Damages Issues
         When, as here, it is clear on the face of the pleadings individualized issues of the extent of

damages, causation, and liability will predominate, courts grant motions to strike class allegations

pre-discovery. In Bevrotte, 2011 WL 4634174, at *2, the plaintiff attempted to bring a Rule

23(b)(3) class action on behalf of a class including “all former, current and future nonsmoking

employees of [Harrah’s New Orleans] who were, are or in the future will be exposed to unsafe

levels of second-hand smoke.” The court granted the defendant’s motion to strike the class

allegations on the pleadings pursuant to Fed. R. Civ. P. 23(d)(1)(D), because individualized

questions of causation and damages would inevitably predominate:

         Each [plaintiff] would bear the burden of proving that exposure to secondhand
         smoke during employment at Harrah’s Casino was responsible for his or her
         injuries. The result would be an endless series of time-intensive factual inquiries
         about each plaintiff, including each’s discrete medical history and risk factors;
         dates, times, and durations of exposure to secondhand smoke at Harrah’s, home,
         and previous places of employment; and concentrations of exposure at Harrah’s,
         home, and previous places of employment. These complicated questions of
         causation would certainly predominate at trial. Even if causation could be tried
         collectively, the unique damages claims of each plaintiff would make this case a
         poor candidate for class treatment.




6
  Even outside the context of personal and emotional injuries, courts are reluctant to certify classes in which it is clear
damages cannot be calculated using any sort of formula. See, e.g., Cannon v. BP Products North America, Inc., No.
10–cv–00622, 2013 WL 5514284, at *15 (S.D. Tex. Sept. 30, 2013) (denying class certification because of
“individualized damages issues” presented by the plaintiffs’ claim their properties’ values were diminished by
chemical releases from an oil refinery, and, specifically, “[i]f Plaintiffs proved causation and damages for one plaintiff,
they would still have to make the same proof for all the others”); Bell Atlantic Corp. v. AT&T Corp., 339 F.3d 294,
306 (5th Cir. 2003) (denying class certification for failure to satisfy Rule 23(b)(3) because there was no formulaic or
mathematical way of calculating damages caused by AT&T blocking caller ID signals such that the results would
“reasonably approximate the actual damages suffered by the class members”).
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Id. at *4. The court also noted the plaintiffs’ damages claims were “not subject to formulaic

calculation,” so there would be “no way for the Court to assess individual damages without experts,

medical reports, and personal testimony from each plaintiff.” Id. The court found “[c]lass

certification would thus do little to spare judicial resources and much to threaten class cohesion.”

Id. The court therefore concluded the “intertwined” predominance and superiority requirements

of Rule 23(b)(3) could not be satisfied. See id. at *5.

       In Coleman, 2017 WL 1064965, at *6-7, the court granted the defendant’s motion to strike

the plaintiffs’ class allegations pursuant to Rule 12(f), finding they could not possibly satisfy the

requirements of Rule 23(b)(3). The court reasoned, “common issues do not predominate when

there are significant factual differences in the class members’ injuries and damages” and the

plaintiffs failed to allege that they and the putative class member they sought to represent had all

suffered the same types of damages. Id.

       In Kemp, 2002 WL 113894, at *, when presented with a proposed Rule 23(b)(3) class

seeking damages for personal injuries, the court granted the defendant’s motion to strike the

plaintiff’s class allegations, finding the requirements of Rule 23 could not be met. The court noted,

among other things, “personal injuries are claimed, implicating numerous individual issues of

causation, affirmative defenses and damages.” Id. at *5.

       In Bauer, 2011 WL 3924963, at *7, the plaintiffs sought certification of a Rule 23(b)(3)

class and the court granted the defendant’s motion to strike the class allegations pursuant to Rule

12(b)(6) “because common issues of liability and damages [did] not predominate over individual

issues with respect to liability and damages.” Even though some damages (like overcharges) could

be calculated using a formula, the court found emotional damages and other damages sought by

the plaintiffs could not be determined using a formulaic calculation:

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        Clearly there would be no common issue with respect to the issue of entitlement to
        emotional damages. The inquiry into entitlement to emotional damages would
        require fact-intensive inquiry with respect to each individual borrower. There could
        be no class wide determination of that element of damages.

Id. at 7. The court therefore concluded the plaintiffs could not establish the predominance

requirement of Rule 23(b)(3). See id.

        In Lauteman, 2019 WL 3037934, at *1, the court granted a motion to strike class allegations

in a nuisance class action due to individualized issues as to both damages and liability. The

plaintiffs sued a company that rents electric scooters, alleging the scooters were routinely left on

their property in an unsafe manner and on sidewalks adjacent to their property. See id. The

plaintiffs brought nuisance and trespass claims against the defendant, alleging the placement of

scooters on or near their property interfered with their use and enjoyment of their property. The

court granted the defendant’s motion to strike class allegations pursuant to Fed. R. Civ. P. 12(f),

disagreeing with the plaintiffs’ argument that the question of whether the defendant’s conduct

constituted a nuisance was common to the putative class members. See id. at *5-7. The court

explained, to state a private nuisance claim under California law, a plaintiff must show the

defendant created (or had active involvement in creating) a condition that was harmful to health

or interfered with the comfortable enjoyment of life or property; an ordinary person would be

reasonably annoyed or disturbed by the condition; the seriousness of the harm outweighs the social

utility of the defendant's conduct; the plaintiff did not consent to the conduct; the plaintiff suffered

harm that was different from the type of harm suffered by the general public; and the defendant’s

conduct was a substantial factor in causing the plaintiff's harm. See id. at *6. Applying that

standard, the court found the plaintiffs could not possibly satisfy the commonality requirement of

Fed. R. Civ. P. 23(a)(2), because “the nature of Plaintiff’s claims, for trespass and nuisance, is

such that class members will have suffered different injuries, if they were injured at all.” Id. at *5.
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The court identified numerous questions that would be highly individualized, including whether

the defendant’s conduct interfered with each class member’s use or enjoyment of his or her

property, the nature of the interference, whether the interference was substantial and objectively

unreasonable (which, the court noted, would depend on the surroundings), and the proximity of

each class member’s property to the scooter hubs (the “nests”). See id. at *7.

                  vi. Denials of Class Certification Under Very Similar Circumstances Show
                      Early Dismissal is Appropriate Here

       In a number of cases, courts have denied motions for class certification due to the same

issues present here and, importantly, those courts were not persuaded by any evidence (expert or

otherwise) presented by plaintiffs that inherently individualized issues could somehow be avoided.

These decisions demonstrate why the class should be dismissed at this stage rather than after

significant time and resources have been expended.

       In Powell v. Tosh, No. 09-cv-00121, 2013 WL 4418531, at *8-12 (W.D. Ken. Aug. 2,

2013), the court decertified a class of plaintiffs who asserted a nuisance claim based on an

allegation that the operation of certain barns near their properties caused noxious odors and

decreased their property values. See id. at *1-3. The court began its analysis by noting Kentucky

law had both “subjective” and “objective” components with respect to determining what

constitutes a nuisance, and neither could be satisfied. See id. at *5-8. With respect to the objective

component, the court explained:

        … each named Plaintiff’s and unnamed class member’s property is situated
       uniquely with respect to the barns in question. Despite that Plaintiffs’ odor experts
       have taken into account wind speed and direction, topography, and other such
       variables, the question of reasonableness cannot be answered objectively for the
       class as a whole when Kentucky law and the facts of this case necessarily require a
       highly individualized inquiry into the experience of each Plaintiff and his situation
       relative to the Defendants.


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Id. at *8. The court did not cite any evidence in concluding the objective component required to

prove nuisance liability under Kentucky law (exactly as under Louisiana law) necessitated

consideration of factors “impossible for a jury to consider [] on a classwide basis” and therefore

could not be resolved with a common answer. See id. The court thus found neither rule 23(a)’s

“commonality” requirement, nor Rule 23(b)(3)’s stricter “predominance” requirement could be

satisfied. See id. at *3-12. The court concluded, “… neither the question whether the class members

subjectively claim to have suffered a substantial annoyance or interference, nor the question

whether that annoyance or interference was objectively unreasonable can be resolved ‘in one

stroke.’” Id. at *9.7

         The court also found Rule 23(a)(3)’s “typicality” requirement was not satisfied for largely

the same reasons:

         [each named plaintiff’s and putitive class member’s] property is situated uniquely
         with respect to the barns in question. And although the Plaintiffs’ odor experts
         have taken into account many (or even assuming all) of the multitude of
         variables relative to the respective locations of those properties and the []
         barns, under Kentucky law, the resolution of whether the Defendants’ barns
         constitute a permanent nuisance necessarily still requires a highly
         individualized inquiry … That is, even assuming any or all of the named Plaintiffs
         were to prove their claims, they would not, by virtue of the necessarily
         individualized inquiry required, prove the claim of any other named Plaintiff or
         class member.

Id. at *10 (emphasis added).

         In Benefield v. International Paper Co., 270 F.R.D. 640, 642 (M.D. Ala. Oct. 20, 2010),

the plaintiffs sued the operator of a paper manufacturing facility, alleging the facility discharged

hazardous substances into the environment resulting in property damage to properties within a

two-mile radius of the facility. The plaintiffs moved for certification of a class consisting of



7
  Of course, Plaintiffs’ claims here require even more individualized inquires than in Powell because, unlike here,
the Powell plaintiffs did not assert highly individualized damages claims for personal injuries and property damages.
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persons who owned property within a two-mile radius of the facility and suffered damages in the

form of diminution of their property values. See id. The court denied the motion, stating it agreed

with the defendant’s position that the assertion of a private nuisance claim on behalf of the class

“undermines the predominance requirement of Rule 23(b)(3).” Id. at *650. The court explained

the “most significant issue” with respect to predominance was the plaintiff’s inability “to prove

causation and damages on a class-wide basis.” Id. The court found none of the expert opinions

offered by the plaintiffs could change the fact that “individualized determinations [would] have to

be made of whether each class member has suffered injury and whether that injury was proximately

caused by the Defendant’s actions.” Id. at 651.

       In Church v. General Electric Co., 138 F.Supp.2d 169, 171 (D. Mass. 2001), the plaintiffs

were property owners who brought a nuisance claim against General Electric, alleging it dumped

waste-containing chemicals into the land surrounding one of its plants, and the contaminants

ultimately reached the plaintiffs’ properties. The plaintiffs moved for certification of a Rule

23(b)(3) class consisting of all persons who owned residential property near General Electric’s

plant. See id. at 180-81. The court denied the plaintiffs’ motion, finding, in light of the elements

required to prove a nuisance claim, “the individual issues are prevalent enough that the class

vehicle cannot be considered superior one for this case.” Id. at 181. The court explained, to

establish a private nuisance under Massachusetts law, plaintiffs must prove “an unreasonable

interference with the use and enjoyment of the property,” something that could not be proven on a

class-wide basis given the “individual characteristics of each plaintiff’s property.” Id. at 182. The

court emphasized: “These differences pertain not just to damages, as plaintiffs argue, but to the

threshold question of whether the contamination constitutes a nuisance [].” Id. The court found

there was “no guarantee that every recorded level of [chemical] contamination suffered by the

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members of the proposed class, no matter what the land's characteristics or what it is typically used

for, is necessarily of sufficient gravity to constitute a nuisance [],” so class certification was not

appropriate. Id.

       In City of San Jose v. Superior Court (1974) 12 Cal.3d 447, 459, 115 Cal.Rptr. 797, 525

P.2d 701, a trial court’s order certifying a class action against a municipal airport related to

nuisance caused by noise, vapor, dust and vibration was vacated. In evaluating the suitability of

the action for class treatment, the court stated: “each member must not be required to individually

litigate numerous and substantial questions to determine his right to recover following the class

judgment; and the issues which may be jointly tried, when compared with those requiring separate

adjudication, must be sufficiently numerous and substantial to make the class action advantageous

to the judicial process and to the litigants.” Id. at p. 460. The court observed: “An approaching or

departing aircraft may or may not give rise to actionable nuisance or inverse condemnation

depending on a myriad of individualized evidentiary factors. While landing or departure may be a

fact common to all, liability can be established only after extensive examination of the

circumstances surrounding each party. Development, use, topography, zoning, physical condition,

and relative location are among the many important criteria to be considered. No one factor, not

even noise level, will be determinative as to all parcels.” Id. at p. 461. The court explained: “Then,

because liability is here predicated on variables like the degree of noise, vapor, and vibration, the

problem is compounded by the factors of distance and direction affecting these variables. The

result becomes a statistical permutation, and the requisite number of subclassifications quickly

approaches the total number of parcels in the class. Under such circumstances, there is little or no

benefit in maintaining the action as a class.” Id. at p. 462.




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                    vii. Plaintiffs’ Class is Not Ascertainable

        Plaintiffs themselves define their class to include only individuals who have suffered

personal injuries, property damage, and depreciation of their property value as a result of the noise

and vibrations allegedly caused by Abby. It would therefore be impossible for the Court to apply

“objective criteria” that make it “administratively feasible” to determine whether a particular

individual is a member of the class. Instead, membership could only be determined through highly

individualized, fact-specific determinations relating to the merits of each putative class member’s

claims, as described in detail above.8

             d. A Rule 23(b)(2) Class Cannot be Certified
        “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory remedy

warranted – the notion that the conduct is such that it can be enjoined or declared unlawful

only as to all of the class members or as to none of them.” Valentine v. Collier, No. 20-cv-1115,

2020 WL 3491999, at *13 (S.D. Tex. June 27, 2020) (quoting Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 360, 131 S.Ct. 2541 (2011)) (emphasis added). The Fifth Circuit has held Rule 23(b)(2)

certification requires: “(1) class members must have been harmed in essentially the same way;

(2) injunctive relief must predominate over monetary damage claims 9; and (3) the injunctive

relief sought must be specific.” Yates v. Collier, 868 F.3d 354, 366 (5th Cir. 2017) (internal

quotations omitted) (quoting Maldonado v. Ochsner Clinic Found., 493 F.3d 521, 524 (5th Cir.

2007)) (emphasis added).

        “The Fifth Circuit has determined that monetary relief predominates in Rule 23(b)(2) class

actions unless it is ‘incidental’ to the requested injunctive and declaratory relief. Swanson v. Perry,


8
 Failure to show ascertainability is fatal to Rule 23(b)(2) and (b)(1) classes as well.
9
  “The Supreme Court has held Rule 23(b)(2) ‘does not authorize class certification when each class member would
be entitled to an individualized award of monetary damages.’” Baricuatro v. Industrial Personnel and Mgmt. Servs.,
Inc., No. 11-cv-2777, 2013 WL 607270, *19 (E.D. La. Nov. 18, 2013) (citing Dukes, 131 S.Ct. at 2557).
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No. 01-cv-0258, 2002 WL 324283, at *2 (N.D. Tex. Feb. 27, 2002), aff'd, 69 Fed. Appx. 658 (5th

Cir. May 29, 2003) (citing Allison, 151 F.3d at 415). “Incidental damages” are damages “whose

calculation does not require new and individualized factual or legal determinations and should be

in the nature of a group remedy. Rather, they are those damages that flow automatically once

liability is established.” Id. (citing Allison, 151 F.3d at 415).

        Plaintiffs cannot possibly meet these standards for several reasons. First, Plaintiffs’ request

for monetary relief on behalf of themselves and the class they seek to represent clearly

predominates over their request for injunctive relief. Plaintiffs allege eleven types of injuries for

which they seek to recover money damages. Petition, ¶ 29. They have recently confined their

putative class to only of those who have suffered three different types of damages (including

personal injury, property damage, and deprecation of home value). See Exhibit “A,” p. 9.

Obviously, the damages Plaintiffs seek are not the types of “incidental” damages that

“automatically flow” from a finding of liability. Plaintiffs do not seek a “group remedy” with

respect to damages. Instead, these types of damages require individualized determinations for each

plaintiff (for the reasons detailed above).

        Plaintiffs inevitably cannot satisfy the requirements of a Rule 23(b)(2) class that (1) the

defendant’s conduct can be declared unlawful as to either the entire class or as to none of them,

and (2) “class members must have been harmed in essentially the same way.” And, relatedly,

certification of a class under Rule 23(b)(2) would inevitably create a conflict of interest within the

class because putative plaintiffs have no right to opt-out of Rule 23(b)(2) classes, Johnson, 208 F.

App’x at 296, so individuals who fall within Plaintiffs’ class definition who have no interest in

challenging the noise caused by a medical emergency helicopter for children, or who believe they




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would be harmed by relocation of the helistop, would be forced into a class that opposes their own

interests.

             e. A Rule 23(b)(1) Class Cannot be Certified
        The U.S. Supreme Court has held:

        [Rule 23(b)(1)(A)] takes in cases where the party is obliged by law to treat the
        members of the class alike (a utility acting toward customers; a government
        imposing a tax), or where the party must treat all alike as a matter of practical
        necessity (a riparian owner using water as against downriver owners).

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997),

quoted in Robinson v. Wal-Mart Stores, Inc., 253 F.R.D. 396, 401 (S.D. Miss. 2008). Thus, in

order to justify certification under Rule 23(b)(1)(A), the party seeking certification must show

inconsistent adjudications would cause the defendants to be unable to satisfy the judgments entered

in some of the claims filed against them without contradicting the terms of other judgments entered

with respect to the remaining claims. See Corley v. Orangefield Indep. Sch. Dist., 152 Fed. App’x

350, 354 (5th Cir. Oct.13, 2005). The possibility that the parties opposing class certification might

be found liable to some of the claimants but not liable to others is insufficient to justify Rule

23(b)(1)(A) certification. See Robinson, 253 F.R.D. at 401 (citing Zinser v. Accufix Research Inst.,

Inc., 253 F.3d 1180, 1192 (9th Cir. 2001)).

        As noted by the court in Huber v. BioScrip Infusion Services, “the Fifth Circuit has held

that certification under Rule 23(b)(1)(A) is ‘seldom appropriate when dealing with monetary

compensation because no inconsistency is created when courts award varying levels of money

damages to different plaintiffs.’” No. 20-cv-2197, 2021 WL 1313411, *8 (E.D. La. April 8, 2021)

(citing Casa Orlando Apartments, Ltd. v. Fed. Nat. Mortg. Ass’n, 624 F.3d 185, 197 (5th Cir.

2010)); see also Lopez v. Progressive County Mutual Ins. Co., No. 19-cv-00380, 2020 WL

6391214, at *4 (W.D. Tex. Nov. 2, 2020) (noting “many courts have held that Rule 23(b)(1)(A),
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which seeks to prevent ‘inconsistent or varying adjudications,’ does not apply to actions seeking

compensatory damages”).

       With respect to whether the injunctive relief requested by a plaintiff can present a risk of

imposing incompatible standards of conduct on a defendant, the Fifth Circuit has held such a risk

is only created if it is possible one court would require the defendant to do something while another

court would require the defendant not to do something. See Casa Orlando Apartments, Ltd., 624

F.3d at 197-98. If the only risk is that one court would require the defendant to do something and

another court would not require the defendant to do the same thing, that does not present a risk of

imposing incompatible standards of conduct on a defendant. See id.

       Plaintiffs cannot meet these standards because: (1) their request for monetary relief clearly

predominates, and (2) there is no risk of judgments by different courts imposing conflicting

obligations on Children’s Hospital. Under Casa Orlando, even if one court ordered Children’s

move its helistop and another court did not order Children’s do so, those judgments would not

impose “incompatible standards of conduct” on Children’s Hospital within the meaning of Rule

23(b)(1)(A). Under Casa Orlando, “incompatible standards of conduct” would only be imposed if

one court ordered Children’s Hospital to move its helistop and another court affirmatively ordered

it not to move its helistop. Finally, the mandatory non-opt-out nature of a Rule 23(b)(1) class only

emphasizes the inequity and inappropriateness of such a class under these circumstances.

                                         CONCLUSION

       For the foregoing reasons, Children’s Hospital requests the Court strike Plaintiffs’ class

allegations with prejudice.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of September, 2021, I electronically filed the foregoing

pleading with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel who are CM/ECF participants.



                                                      /s/ Leslie. W. Ehret




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